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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      )
                                              )
                                              )
               v.                             )       Criminal No. 18-CR-32 (DLF)
                                              )
                                              )
                                              )
CONCORD MANAGEMENT AND                        )
CONSULTING, LLC, et al.,                      )
                                              )
                       Defendants.            )

    GOVERNMENT’S MOTION FOR LEAVE TO FILE AN EX PARTE, IN CAMERA,
      CLASSIFIED ADDENDUM TO THE GOVERNMENT’S OPPOSITION TO
       DEFENDANT’S MOTION TO DISCLOSE DISCOVERY PURSUANT TO
                        PROTECTIVE ORDER

       The United States, by and through undersigned counsel, and pursuant to Federal Rule of

Criminal Procedure (“Rule”) 16(d)(1), respectfully moves for leave to file an ex parte, in

camera, classified addendum to its forthcoming opposition to the Defendant’s Motion for

Approval to Disclose Discovery Pursuant to Protective Order (Dkt. 77). The classified

addendum would supplement the Government’s publicly-filed opposition, providing only

additional (but highly sensitive) details supporting the Government’s public arguments. Because

this additional information is classified for reasons of national security, and because defense

counsel is not otherwise entitled to the information, the Government seeks permission to submit

the information ex parte, as contemplated by Rule 16(d)(1).1 Should the Court grant the instant

motion, the Government would submit the ex parte, classified addendum through the Court



1
 The Government is seeking this permission in advance of its filing deadline in order to ensure
that the classified information is protected from any unnecessary disclosure and in order to
formally obtain the agreement of other government agencies to submit the information ex parte
and in camera to the Court in this proceeding.
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Information Security Officer at the same time that it files its public opposition to the Defendant’s

motion.

                                           ARGUMENT

       1. Ex Parte Submission of Limited Facts Supporting the Government’s Arguments
          Regarding Discovery Protections is Appropriate under Rule 16(d)(1).

       Courts have broad discretion to manage discovery, including discretion to consider ex

parte submissions in resolving discovery disputes. Specifically, Rule 16(d)(1) provides that:

               At any time the court may, for good cause, deny restrict, or defer discovery or
               inspection, or grant other appropriate relief. The court may permit a party to
               show good cause by a written statement that the court will inspect ex parte. If
               relief is granted, the court must preserve the entire text of the party’s statement
               under seal. (Emphasis added.)

Even though ex parte submissions are generally disfavored, there are several reasons they may

be appropriate in the context of discovery disputes. For example, courts have considered ex

parte information regarding the risks to witness security that would result from not restricting

discovery that might otherwise be provided in the normal course. See United States v. Napue,

834 F.2d 1311, 1320-23 (7th Cir. 1987) (approving district court’s consideration of ex parte

information regarding the defendant’s alleged dangerousness, based on prior conduct not charged

in the case, as it related to defendant’s request for pretrial discovery of identities of Government

witnesses). Moreover, as the Federal Rules Advisory Committee has explained, consideration of

ex parte submissions in the context of discovery may be especially appropriate where national

security is implicated. See Fed. R. Crim. P. 16 advisory committee’s note (1966 amendment)

(“In some cases it would defeat the purpose of the protective order if the government were

required to make its showing in open court. The problem arises in its most extreme form where

matters of national security are involved.”).




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       Here, the Government intends to present several arguments in open court in opposition to

the Defendant’s pending motion and, in particular, to the Defendant’s desire to share discovery

materials with co-defendant Yevgeniy Prigozhin, the Russian national who controls the

Defendant but has not personally appeared. The Government previously presented arguments

regarding the need to shield discovery from Prigozhin in advance of this Court’s issuance of the

existing protective order, for reasons of national security. See Gov. Mot. For Prot. Order, Dkt.

24. At that time, the Government submitted supplemental information ex parte in support of its

argument. See Gov. Ex Parte Submission, Dkt. 25 (sealed). The Court relied on the ex parte

submission by the Government in issuing the current protective order. See June 29, 2018, Mem.

Op. & Order, Dkt. 42. And, at a hearing on the discovery dispute, the Court noted that “the

government has outlined in its public motion all of the bases for [its argument], and what was

supplied to me ex parte are just the details that back up the assertions in terms of national

security investigations, cooperating witnesses, et cetera. So it’s the particulars behind their

argument that’s fully briefed.” June 27, 2018, Tr. 20, Dkt. 41.

       That same discovery issue—whether the Defendant should be permitted to share certain

discovery with Prigozhin—is again before the Court in Defendant’s pending motion. And, as

before, the Government seeks to provide certain facts regarding Prigozhin and other Russian

nationals associated with him ex parte, for the limited purpose of supplementing arguments that

will be fully briefed in the Government’s publicly filed motion. Thus, as before, and as the

Court suggested in its comments regarding the earlier ex parte submission, the Defendant will

suffer minimal, if any, prejudice from the ex parte nature of the classified submission, because

the Defendant will have the opportunity to respond in substance to each of the Government’s

arguments.



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       2. The Defendant is Not Otherwise Entitled to the Classified Information to Be
          Submitted to the Court.

       An ex parte submission of the information in this instance is also appropriate because

defense counsel is not otherwise entitled to the information to be provided to the Court.

Specifically, a certain portion of the classified information that the Government intends to

submit—for the limited purpose of resolving the discovery dispute—is simply not relevant to the

merits of the prosecution, and thus there would be no reason for its disclosure to defense counsel

under Rule 16 or other authority. And, to the extent certain portions of the information to be

submitted are relevant to the merits of the prosecution, the Government anticipates that such

information would be withheld from discovery in this case under Section 4 of the Classified

Information Procedure Act (“CIPA”), 18 U.S.C. App. 3 § 4, because it is not “helpful” to the

defense. See United States v. Yunis, 867 F.2d 617, 623 (D.C. Cir. 1989).2

       In other words, defense counsel is not entitled to the classified information as a result of

the charges in this case. And, as explained above, disclosure of the classified information to the

defense is hardly necessary to permit the defense to argue in support of its discovery motion,

including to argue that it ought to be allowed to share discovery materials with Prigozhin. Given

that Rule 16(d)(1) permits the Court to receive information ex parte in that context, the

circumstances in this instance weigh strongly in favor of permitting the ex parte submission.

       3. The Potential Harm to National Security Outweighs Any Interest of the
          Defendant in the Information.

       Here, an ex parte submission is even more critical than it was with respect to the earlier

litigation regarding the protective order, because the disclosure of the additional information to



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  Should discovery in this case continue, the Government anticipates seeking an order under
Section 4 of CIPA to withhold certain classified information that is not “relevant and helpful” to
the defense.

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be submitted regarding Prigozhin would create even greater risks to the national security. The

undersigned have confirmed that the information to be submitted ex parte is classified within the

United States Intelligence Community at the Top Secret // Sensitive Compartmented Information

(“TS//SCI”) level, and disclosure of such information could cause exceptionally grave damage to

the national security. This national security concern necessitates ex parte submission of the

information, and, in the limited circumstances of the pending discovery dispute, an ex parte

submission is certainly appropriate under Rule 16(d)(1).

                                        CONCLUSION

       For these reasons, the Government asks the Court to grant the instant motion and permit

the Government to submit an ex parte, in camera, classified addendum to its forthcoming

opposition to the Defendant’s pending motion, containing only additional facts in support of the

Government’s public arguments.




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                                           Respectfully submitted,



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